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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                 Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                       DECLARATION OF ACTING OFFICER IN CHARGE
                                  LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business. This declaration responds to
             Item 4 of the court’s order of April 30, 2020 and is applicable to Krome, Broward
             Transitional Center (BTC), and Glades County Detention Center (Glades).

          3. Between May 15, 2020 and May 22, 2020 at 9:00 a.m., ICE released, transferred or
             removed a total of 92 detainees. Those detainees were released, transferred or
             removed from the following facilities: 47 detainees from Krome, 22 detainees from
             Glades and 23 detainees from BTC.

          4. The nature of the 47 cases from Krome are as follows:



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                a. 6 detainees were released on bond.
                b. 19 detainees were removed from the United States.
                c. 1 detainee was released because an immigration judge granted relief from
                   removal.
                d. 4 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review.
                e. 1 detainee departed voluntarily.
                f. 1 detainee was transferred from Krome to BTC based upon risk classification
                   and bed space needs.
                g. 10 detainees were transferred from Krome to Glades based upon risk
                   classification and bed space needs.
                h. 5 detainees were transferred to another field office to be staged for a
                   scheduled removal flight.

         5. The nature of the 22 cases from Glades are as follows:

                a. 6 detainees were released on bond.
                b. 6 detainees were released because an immigration judge granted relief from
                   removal.
                c. 2 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review.
                d. 2 detainees were turned over to another law enforcement agency due to an
                   active warrant.
                e. 6 detainees were transferred from Glades to Krome based upon risk
                   classification and bed space needs.

         6. The nature of the 23 cases from BTC are as follows:

                a. 1 detainee was released on bond.
                b. 2 detainees were removed from the United States.
                c. 1 detainee was released because an immigration judge granted relief from
                   removal.
                d. 2 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review.
                e. 13 detainees were transferred to another field office to be staged for a
                   scheduled removal flight.
                f. 1 detainee was transferred to a local hospital for a mental health evaluation.
                g. 1 detainee departed voluntarily.
                h. 2 detainees were transferred from Krome to BTC based upon risk
                   classification and bed space needs.




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                                                       Digitally signed by LIANA J CASTANO

   DATED: May 22, 2020     _____________________________________
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                           Liana J. Castano
                           Assistant Field Office Director
                           Enforcement and Removal Operations
                           U.S. Immigration and Customs Enforcement




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